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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,             No.   2:16-cr-00067-JAM-5
12                 Plaintiff,
13        v.                               ORDER FOR VOLUNTARY SURRENDER
14   VIDAL GONZALEZ,
15                 Defendant.
16

17        Defendant Vidal Gonzalez, having been sentenced to the

18   custody of the Bureau of Prisons, shall surrender to the

19   institution designated by the Bureau of Prisons, or if no such

20   institution has been designated, to the United States Marshal in

21   Sacramento, California before 2:00 p.m. on June 20, 2019.         The

22   defendant is further advised it is a criminal offense punishable

23   by a consecutive term of imprisonment to fail to surrender for

24   service of sentence pursuant to the order of this Court.          All

25   conditions of pretrial release shall remain in effect until the

26   defendant surrenders in accordance with this order.

27        The Court reserves jurisdiction over this matter, and will

28   only change the date or time of voluntary surrender upon motion
                                          1
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 1   of either the defendant or the government with good cause
 2   appearing.
 3        The Clerk is directed to serve the U.S. Marshals Service a
 4   copy of the order.
 5        IT IS SO ORDERED.
 6   Dated: April 9, 2019
                                              /s/ John A. Mendez___________
 7                                            John A. Mendez,
 8                                            United States District Judge

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